
471 So.2d 1332 (1985)
B. Virgil MILLER and Myrtle Miller, Appellants,
v.
FIRST SERVICE CORPORATION OF the FLORIDA KEYS, a Florida Corporation, United States Fire Insurance Company, a Foreign Insurance Corporation and Florida Windstorm Underwriting Association, a Statutory Insurance Association, Appellees.
No. 84-2183.
District Court of Appeal of Florida, Third District.
June 25, 1985.
Rehearing Denied July 23, 1985.
*1333 Albury, Morgan &amp; Hendrick and Susan Vernon, Key West, for appellants.
Wicker, Smith, Blomqvist, Tutan, O'Hara, McCoy, Graham &amp; Lane and Shelley H. Leinicke, Miami, for appellees.
Before SCHWARTZ, C.J., and BARKDULL and HUBBART, JJ.
PER CURIAM.
Appellants seek review of an order denying their motion for prejudgment interest.
The plaintiffs built a vacation house on stilts in the Florida Keys. They went to First Service Corporation of the Florida Keys [First Service] to procure windstorm insurance on the house. Coverage was not to be effective until the risk was accepted. The insurance was applied for on April 15, 1980, and the application carried an effective date of April 25, 1980. First Service failed to timely forward the application and on April 27, 1980, a windstorm blew the house off its pilings prior to the application being received by the insurer. A policy was not issued. The plaintiffs then filed a complaint against the broker for failure to procure insurance. The jury found for the plaintiffs, awarding them the full amount of the policy not issued. Thereafter the trial court entered the order appealed denying prejudgment interest. We reverse.
The failure of the defendant's insurance broker to secure the issuance of the insurance policy caused the plaintiffs to lose the benefits provided in the applied for policy. One of the benefits, upon a recovery, was interest on the amount claimed commencing 60 days from the filing of a proof of loss. See &amp; compare Jackson Grain Co. v. Hoskins, 75 So.2d 306 (Fla. 1954); Warren v. Old Dominion Insurance Co., 465 So.2d 1376 (Fla. 5th DCA 1985); Kennedy v. George Cully Real Estate, Inc., 336 So.2d 484 (Fla. 3d DCA 1976); Tech Corporation v. Permutit Company, 321 So.2d 562, 563 (Fla. 4th DCA 1975); English and American Insurance Company v. Swain Groves, Inc., 218 So.2d 453 (Fla. 4th DCA 1969); Greenfield v. Insurance, Inc., 97 Cal. Rptr. 164, 19 Cal. App.3d 803 (1971).
We therefore reverse the order under review and remand the matter to the trial court to award the plaintiffs' interest on the final judgment commencing 60 days from the filing of the proof of loss.
Reversed and remanded.
